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1         The Court concludes that the Government is not entitled to a

2    rebuttable presumption that no condition or combination of conditions will

3    reasonably assure the defendant’s appearance as required and the safety or

4    any person or the community [18 U.S.C. § 3142(e)(2)].

5         The Court finds that no condition or combination of conditions will

6    reasonably assure:

7               ‫ ܈‬the appearance of the defendant as required.

8               ‫ ܈‬the safety of any person or the community.

9         The Court has considered the following:

10        (a) the nature and circumstances of the offense(s) charged, including

11        whether the offense is a crime of violence, a Federal crime of terrorism,

12        or involves a minor victim or a controlled substance, firearm, explosive,

13        or destructive device;

14        (b) the weight of evidence against the defendant;

15        (c) the history and characteristics of the defendant; and

16        (d) the nature and seriousness of the danger to any person or the

17        community.

18   See 18 U.S.C. § 3142(g) The Court also considered the report and

19   recommendation of the U.S. Pretrial Services Agency.

20        The Court bases its conclusions on the following:

21        As to risk of non-appearance:

22              ‫܈‬      Defendant is a citizen of Romania, has no legal status in

23   the United States, and was previously deported from the United States.

24              ‫܈‬      Defendant has significant family ties to Romania.

25              ‫܈‬      Defendant has no identified third party bail resources, and

26   unstable residence and employment, and an unverified background.

27              ‫܈‬      Defendant has an outstanding 2016 warrant in Mexico for

28   bank fraud and an outstanding 2014 warrant in Hungary for robbery.

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1                ‫܈‬     Defendant uses aliases to conceal assets and evade law

2    enforcement.

3          As to danger to the community:

4                ց     Allegations in the Complaint detailing Defendant’s

5    leadership in an extensive bank fraud and identity theft scheme.

6                ց     Defendant was convicted in 2015 in Florida of conspiracy to

7    commit bank fraud.

8          It is therefore ORDERED that Defendant Gheorghe Dumitru be

9    detained until trial. The defendant will be committed to the custody of the

10   Attorney General for confinement in a corrections facility separate, to the

11   extent practicable, from persons awaiting or serving sentences or being held

12   in custody pending appeal. The defendant will be afforded reasonable

13   opportunity for private consultation with counsel. On order of a Court of the

14   United States or on request of any attorney for the Government, the person

15   in charge of the corrections facility in which defendant is confined will deliver

16   the defendant to a United States Marshal for the purpose of an appearance in

17   connection with a court proceeding. See 18 U.S.C. § 3142(i).

18   Dated: November 3, 2021
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20                                 PA T R IC IA D O N A H U E
                                    _______________________________
21                                  PATRICIA DONAHUE
                                    UNITED STATES MAGISTRATE JUDGE
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